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                                 UNITED    STATES       DISTRICT        COURT
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                                 EASTERN    DISTRICT        OF    VIRGINIA
                                    Newport News Division                             CLERK, U.S. DISTRICT COURT
                                                                                              NORf'OLK. VA



 UNITED    STATES   OF       AMERICA


 V.                                                                       Criminal      No.    4:12crl0


 ANTONIO DANIEL MCGHEE,
 and


 GABRIEL DANIEL MORRISON MITCHELL,
 and


 TRAVIS WILLIAMS,


                Defendants


                                         OPINION AND         ORDER


         This matter is before the Court on a Motion for Judgment of

 Acquittal      filed        on    July        6,    2012    by     Defendant         Antonio       Daniel

 McGhee    ("McGhee").             McGhee has moved pursuant                     to   Rule 29       of   the

 Federal    Rules      of     Criminal         Procedure          to    overturn      his     conviction


 on    Count    Four        of     the    Superseding             Indictment,           Brandishing          a

 Firearm    during       a       Crime    of        Violence      in    violation       of     18   U.S.C.

  § 924(c) .     McGhee's motion is fully briefed and is now ripe for

 decision.          After           careful           consideration              of     the     parties'

 submissions,       for      the    reasons          set    forth       below,    the    Court      DENIES

 McGhee's      motion.


                                   I.    PROCEDURAL         BACKGROUND


         On February 8, 2012,              a        federal grand jury returned a multi-

 count     indictment            charging           Defendant          McGhee     and    co-Defendant
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 Gabriel     Daniel     Morrison          Mitchell       ("Mitchell")            with        Interference

 with Commerce by Robbery in violation of                                  18    U.S.C.       §§    1951(a)

 and   2     ("Count        Two"),       Carjacking        in    violation              of     18    U.S.C.

  §§ 2119 and 2        ("Count Three"),            and Brandishing a Firearm during

 a   Crime    of    Violence       in violation          of     18    U.S.C.          §§     924(c)(1)(A)

 and   2     ("Count        Four"),        in    connection           with        the        robbery     and

 carjacking of         a Sears          contractor's          appliance delivery truck on

 January      10,    2012.          On    April     5,    2012,        a        federal       grand      jury

 returned      a     multi-count           superseding           indictment                charging      co-

 Defendant         Travis    Williams           ("Williams"),          along          with     Defendants

 McGhee      and    Mitchell,           with    Counts    Two        through          Four     referenced

 above,     and further charging all three Defendants with Conspiracy

 to Interfere with Commerce by Robbery in violation of 18 U.S.C.

  § 1951    ("Count One").

       At     trial,         the        evidence       revealed        that           Anthony       Wilson

  ("Wilson"),        the     driver        of    the     Sears        contractor's              appliance

 delivery truck,            was    carjacked by          two men.               Unbeknownst         to    the

 driver,     Williams,        the helper on his               truck,        was       involved in the

 carjacking conspiracy and was passing on information to the two

 carjackers about            the truck's destination on the morning of the

 carjacking.          Williams           pretended       to     also       be     a    victim       of    the

 carjacking.           The        two     carjackers          appeared           at     the     appliance

 delivery destination and displayed a                           firearm,          bound Wilson and

 Williams,     later off-loaded the appliances at various                                      locations,
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 and     then      abandoned       the    truck    with    Wilson     and      Williams      left     in


  the rear cargo area.

         On June 22, 2012,               at the conclusion of a multi-day trial in

  the Newport News Division of the Court,1 the jury returned guilty

 verdicts          against       both    Defendants       McGhee      and      Mitchell       on     all

 counts.2          The jury also specifically found that Defendant McGhee

 had brandished,            as    opposed to carried,           a firearm during a crime

 of violence and that Defendant Mitchell had carried,                                   as opposed

 to    brandished,          a     firearm    during       a   crime       of   violence.           (See

 attached verdict forms).

         Following          the    verdicts,        counsel         for    Defendant         Mitchell

 renewed his Rule 29 Motion for Judgment of Acquittal and further

 moved to          set aside       the jury's verdict,              which motions        the Court

 denied       for     the       reasons     stated    on      the    record.          Counsel        for

 Defendant         McGhee       reserved     the     right     to    file      any    such    motions

 within the time frame provided by Rule 29.3                                   Defendant McGhee


 1 During trial, Defendants McGhee and Mitchell moved pursuant to Rule
 29 at the close of the Government's case for judgment of acquittal on
 Counts    One and Two.             The Court denied this motion for the reasons
 stated    on the record.             Defendants McGhee and Mitchell renewed their
 motion for a judgment of acquittal at the close of all evidence.                                    The
 Court again denied the motion.

 2 Defendant Williams entered a plea of guilty on Counts One and Four on
 May 31,      2012.    Defendant Williams testified against Defendants McGhee
 and Mitchell at the jury trial and was                       sentenced        in accordance with
 his plea of guilty on October 11, 2012.

 3 Rule       29    provides      that:     "A defendant        may move        for    judgment       of
 acquittal or renew such motion within 14 days after a guilty verdict
 or after the court discharges the jury,                      whichever is later."            Fed.    R.
 Crim.   P.   29(c) (1) .
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  timely moved         for       a   Judgment          of    Acquittal       as    to    Count      Four     on

 July    6,     2012.           The    Government             filed     a    written         response        in

 opposition to Defendant McGhee's motion on July 16,                                           2012.        The

 pending motion is now ripe for review.

                                             II.   DISCUSSION


                                       A.         LEGAL STANDARD


         Federal       Rule      of    Criminal             Procedure       29    allows       a    district

 court to enter a judgment of acquittal for "any offense on which

 the    evidence       is   insufficient               to sustain a         conviction."             Fed.    R.

 Crim.    P. 29(a).             The court must deny such a motion and sustain a

 guilty verdict in a criminal case tried by a jury "'if there is

 substantial          evidence,         taking          the    view     most      favorable           to    the

 Government,         to support it.'"                  United States v. Cameron,                    573 F.3d

 179,    183    (4th Cir.            2009)    (quoting United States v.                        Burgos,       94

 F.3d    849,        862    (4th      Cir.        1996)       (en    banc)).            "x [Substantial

 evidence       is    evidence         that        a    reasonable          finder      of     fact       could

 accept as       adequate and sufficient                       to support a conclusion of a

 defendant's          guilt      beyond       a    reasonable         doubt.'"               Id.    (quoting

 Burgos, 94 F.3d at 862).                    The United States Court of Appeals for

 the Fourth Circuit has held that the uncorroborated testimony of

 a   single     witness-whether               a    codefendant,             an    accomplice,          or    an

 informant-may             be    sufficient             to    support        such        a    conclusion.

 United States v. Wilson, 115 F.3d 1185,                               1189-90          (4th Cir.         1997)

  (citing United States                v.     Baker,         985    F.2d 1248,          1255       (4th    Cir.
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 1993)    and    United          States          v.    Arrington,          719        F.2d    701,      705     (4th

 Cir.    1983)).       Additionally,                  it is "[t]he jury, not the reviewing

 court,       [who]    assesses             the       credibility          of    [such]       witnesses         and

 resolves       any        conflicts          in       the       evidence        presented."              United

 States v. Lentz,               383 F.3d 191,            199     (4th Cir.        2004).

         When    determining                whether          the      evidence         is     sufficient          to

 support        the         jury's            verdict,              a      court         "must          consider

 circumstantial             as     well          as      direct         evidence,            and     allow       the

 government          the    benefit          of       all    reasonable           inferences            from     the

 facts proven to those sought to be established."                                              United States

 v.    Tresvant,       677       F.2d       1018,      1021       (4th Cir.           1982).         Thus,      "[a]

 defendant challenging the sufficiency of the evidence to support

 his     conviction             bears       xa    heavy          burden.'"             United          States     v.

 Beidler,       110    F.3d        1064,          1067       (4th       Cir.     1997)       (citing      United

 States v. Hoyte,               51 F.3d 1239,            1245 (4th Cir.               1995)).

                                                 B.      ANALYSIS


         Defendant McGhee asks the Court to grant the pending motion

 for     judgment      of        acquittal,             thereby         setting        aside       the    jury's

 finding        of     guilt           on        Count       Four,         based        on     the       alleged

 insufficiency of                the    evidence            to   sustain         such    conviction.              In

 the    alternative,             Defendant            McGhee        asks        the    Court       to    enter     a

 finding       that        he    carried,             rather        than       brandished          a    firearm,

 arguing      that     insufficient evidence and jury confusion resulted

 in     the    brandishment             finding.                 In      support        of     his      motions,
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 Defendant McGhee argues that:                      (1) the evidence did not show that

 a real firearm was used,                 carried,        or possessed;          (2) the evidence

  did    not   show    that    it    was        Defendant         McGhee   who    brandished     the

  firearm;      and   (3)    jury confusion likely caused the                        jury to    find

  that   Defendant         McGhee    brandished          a   firearm.        ECF    No.   94.    The

 Court addresses each asserted ground in turn.

                                     1.         Evidence of Firearm


         Defendant         McGhee     argues        that      the    evidence       presented     at

 trial     was   insufficient             to    support      a    conviction       on   Count   Four

 because it did not establish beyond a reasonable doubt that "an

 actual       or real firearm"            was used, carried,               or possessed during

 or     in furtherance of           the        offenses      of    conviction.          (Docket No.

 94) .     Defendant McGhee contends                     that,     because the evidence was

 insufficient,        the jury was required to speculate as to whether

 the "revolver" described by witnesses was a real firearm and not

 "a fake or toy gun."               Id.

         To    sustain a      conviction under 18 U.S.C.                     § 924(c)(1),        the

 Court must find that a firearm was used,                             carried,       or possessed

 during        and    in    relation           to    a    crime      of     violence      or    drug

 trafficking crime.             18 U.S.C.           § 924(c)(1)(A).              For purposes of

 § 924(c),       the term       "firearm"           is defined as:            "(A)      any weapon

 (including a starter gun) which will or is designed to or may

 readily be converted to expel a projectile by the action of an

 explosive; (B) the frame or receiver of any such weapon; (C) any
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 firearm              muffler        or    firearm           silencer;        or      (D)    any       destructive

 device...."            18     U.S.C.           § 921(a)(3).              The        firearm       supporting       a

 § 924(c)             conviction need not be seized or offered into evidence

 to sustain such conviction.                                 United States v.               Jeffers,       570 F.3d

 557,       566 n.6 (4th Cir.                   2009)      (citing United States v. Jones,                        907

 F.2d 456,              460    (4th Cir.             1990)).          Eyewitness testimony alone can

 be     sufficient              to        prove          that     the    object        used,           carried,    or

 possessed was,                 in fact,             a   firearm.        United States v.                Redd,    161

 F.3d 793,             797 (4th Cir. 1998)                     (citing Jones,         907 F.2d at 460).

            At        trial,    Wilson,           the      victim       and     driver       of    the     delivery

 truck,           testified           in        detail          about     the      manner         in     which    the

 carjacking took place and the firearm in question,                                               describing it

 as     a        "brown        revolver."                 Additionally,            co-Defendant            Williams

 testified that he felt what he believed to be a firearm against

 his        back        during        the        course          of     the     robbery.            Co-Defendant

 Williams also provided testimony linking McGhee and Mitchell                                                      to

 firearms              on    more     than       one      prior       occasion        in    his        interactions

 with them.


            When        considering              the      sufficiency           of     such       evidence,       the

 Court           is     required           to    view          the    evidence        and     all        reasonable

 inferences                 from      it        in       the     light        most      favorable          to     the

 Government.                  Tresvant,          677 F.2d at            1021;    see also United States

 v.     Laughman,              618    F.2d           1067,       1075     (4th       Cir.     1980).         Having

 considered Wilson and co-Defendant Williams's                                              testimony in this
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  light,     the Court FINDS that the evidence at trial was more than

 sufficient to permit a rational jury to conclude that an actual

  firearm      was         carried,          used,     or        possessed       during       a    crime     of

 violence (robbery).

                                       2.      Evidence of Brandishment


        Defendant               McGhee        next      argues           that     the       evidence       was

 insufficient              to        establish        that        he     brandished          the    firearm.


 Instead,         he        contends           that     the        evidence        established             that

 Defendant        Mitchell            brandished        the       firearm       and,    therefore,         that

 no     reasonable             jury     could         have       found     that        Defendant      McGhee

 brandished a firearm, only that he carried one.

        As    a    threshold                matter,     a       finding    that        Defendant      McGhee

  "brandished"             a        firearm      is     not        necessary           to    sustain       his

 conviction under                   § 924(c).         The elements required to sustain a

 conviction under                   § 924(c)     are    (1)       the    defendant used,            carried,

 or possessed a firearm;                      and (2)           the defendant did so during and

 in   relation         to       a    drug    trafficking crime              or crime         of    violence.

 18   U.S.C.      § 924(c)(1)(A).                 Whether          the   defendant          "brandished"      a

 firearm      is       a    sentencing           factor          that    increases          the mandatory

 minimum sentence from five years to seven;                                     it is not an element

 of the offense.                    United States v. Harris,               243 F.3d 806, 812               (4th

 Cir.    2001).            Accordingly,          the        evidence would be               sufficient       to

 support Defendant McGhee's                      conviction on Count Four even if                          the

 Court were to find that Defendant McGhee carried,                                          as opposed to


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 brandished,      the firearm.

        Furthermore,            the     evidence             at      trial    was      sufficient           to

 sustain    a     finding        that     a       firearm         was      brandished           during     the

 offenses of conviction.                  For purposes of                  § 924(c),        a firearm is

 brandished if all or part of it is displayed or its presence is

 otherwise made known                 "to another person in order                          to    intimidate

 that    person,       regardless            of    whether           the     firearm        is    directly

 visible     to      that       person."               18     U.S.C.        § 924(c)(4).               Wilson

 testified      at    trial       that    when          he     first       encountered          Defendants

 McGhee    and     Mitchell,          both        of    whom      were       masked,        one    of     them

 punched    him      in    the     face      with       a     closed       fist.      Wilson        further

 testified      that      he     intended         to        strike    the     assailant          back,     but

 stopped and submitted when                       the       other man pointed a                 firearm at

 him.     Neither Defendant McGhee nor Defendant Mitchell challenged

 this    testimony         on    cross-examination.                     Similarly,          co-Defendant

 Williams testified that,                 as he exited the customer's home where

 they were delivering the appliance and approached the delivery

 truck, Mitchell came up behind him and ordered him to get in the

 truck, pressing what Williams testified felt like a handgun into

 his    lower back.            The testimony of both Wilson and co-Defendant

 Williams    was      thus      sufficient             to    establish        that     a    firearm was

 brandished during the offenses of conviction.

        Defendant         McGhee      next    contends            that     the     evidence       at     trial

 established that Defendant Mitchell brandished the firearm,                                              not
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  Defendant McGhee.                  Accordingly,             Defendant McGhee asks                    the Court

  to   enter a         finding           that    he     carried,           rather       than brandished,               a

  firearm during              the offenses              of    conviction.               The Court declines

  to do so.


           The     jury          convicted           Defendants             Mitchell          and     McGhee          of

  conspiracy to              interfere with commerce by robbery.                                     All members

  of   a    conspiracy             are    liable        for       a   co-conspirator's               substantive

  offenses        if       those    offenses         were     committed in              furtherance          of    the


  conspiracy.               Pinkerton v.             United States,               328 U.S.          640,    646-647

  (1946).          Accordingly,                 "[a]    defendant               may   be      convicted          of    a

  § 924(c)        charge on the basis of                          a coconspirator's use of a gun

  if   the       use        was     in     furtherance                of    the       conspiracy           and     was

  reasonably           foreseeable              to     the    defendant."                United       States          v.

  Wilson,        135 F.3d 291,             305       (4th Cir.         1998)       (citing United States

  v.   Chorman,            910     F.2d    102,        110-11         (4th       Cir.      1990));         see    also

  United States v.                Lazaro,        449 Fed.         App'x 319,            320   (4th Cir.          2011)

  (unpublished)              (holding           that     co-conspirator                  liability          in        the

  context of           a    § 924(c)       charge extends                  to    the application of                the

  brandishing sentencing enhancement).                                      Thus,       a defendant may be

  awarded        the       enhancement           "on the          ground that            it was       reasonably

  foreseeable               that     [his]           codefendants                would        brandish           their

  weapons."        Id.

           The    evidence          at     trial       established               that    on    more        than    one

  prior     occasion,             Defendants           McGhee         and       Mitchell       threatened          co-



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  Defendant Williams with a firearm to encourage his participation

  in the offenses of conviction,                that Defendant McGhee was present

  and active in the commission of the offenses of conviction,                                     and

  that a firearm was brandished against both co-Defendant Williams

  and Wilson during           such offenses.                Reviewing         such evidence        in

  the light most favorable to the Government and in the context of

  the jury's verdict as              to Count One,          the Court FINDS            that     there

  is    sufficient        evidence      to     support          the     application        of     the

  brandishing       enhancement        under     §    924 (c) (1)(A)(ii)          to    Defendant

  McGhee,    regardless         of   which     defendant         actually       brandished        the

  firearm.         Even    if     Defendant         McGhee       were        correct    that      the

  evidence       established      Defendant         Mitchell      brandished         the   firearm

  (a    finding    the    Court      declines        to    make),      the     Court   finds,      in

  light     of     the    evidence       at     trial,          that    it     was     reasonably

  foreseeable       to    Defendant      McGhee       that      Defendant       Mitchell        would

  brandish a firearm during the offense of conviction.                                 Therefore,

  the   Court      declines     to     enter    a     finding         that    Defendant       McGhee

  carried,       rather    than      brandished           the   firearm.          Additionally,

  because brandishing is a sentencing factor and not an element of

  the offense under § 924(c),                 the Court further declines to upset

  the jury's finding of guilt as to Count Four.

                           3.        Allegations of Jury Confusion

         Defendant       McGhee's      final    argument         is     that    jury    confusion

  led to     the   finding      that    he brandished,            rather       than carried,        a


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  firearm      during       the     commission          of     the    offense     of    conviction.

  During trial proceedings when the jury returned its verdict,                                       the

  Court      brought        to     the     attention           of     counsel     at     a    sidebar

  discussion       the      fact    that     it    appeared          that   the   foreperson         had

  meant to check only one of the two blanks on the second page of

  the special verdict form but that there appeared to be the start

  of   a   small     mark    in    the   first     blank           (the   "carried     the    firearm"

  blank)     as well as          a fully formed check mark in the second blank

  on   the    form    (the       "brandished       the        firearm"      blank) .     The     Court

  showed     the   form     to     counsel    at   the        sidebar     and noted      to   counsel

  that     because     it    appeared        as    if        the    foreperson    only       meant    to

  check one of         the       two blanks       on    the second page           of    the verdict

  form,      the Court would ask the foreperson to clarify the                                  jury's

  intent on the record.               All defense counsel agreed to this method

  of proceeding,         and the Court then inquired of                       the foreperson as

  follows:


           THE COURT:   I'm going to —   on one of these verdict
           forms it looks like something on the second page was
           started to —   there's something in one of the blanks
           and then a little bit of something in another of the
           blanks.   And I'm not sure that I know exactly what
           that means.    I'm going to hand this back to the
           foreperson and so that you can clarify on there.    So
           if you did not mean to put anything in the first blank


           JURY FOREPERSON:           Correct.


           THE COURT:        --    can you just mark through it with that
           white-out?




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            (Jury Foreman received verdict form and complied.)

            THE COURT:        Okay.     Thank you.

  Trial Tr.        982,     ECF No.    103.

            As    is obvious from the above transcription,                        in response to

  the       Court's     inquiry,       the    foreperson          clarified       that      the    jury

  intended to make a             finding that Defendant McGhee brandished the

  firearm,         which    reflected        the    completed      check       mark made      on    the

  second page of            the special verdict                form.     (See attached).            The

  foreperson          confirmed       that    the       small    mark    in    the     "carried     the

  firearm"         blank was     a    mistake,       and was       then    asked       to   white-out

  the    additional         small     mark    on   the    "carried       the    firearm"     line    of

  the       special    verdict        form    as    a    scrivener's          error.        Defendant

  McGhee         contends     that    such    confusion,         coupled with          insufficient

  evidence of brandishing,               proves         that "the evidence did not rise

  to    a    level     beyond    a    reasonable          doubt    that       [Defendant]      McGhee

  brandished          the    firearm."        As    discussed above,             the    brandishing

  enhancement is a sentencing factor that need not be charged in

  the       indictment nor proven beyond a                      reasonable      doubt.        Harris,

  243   F.3d at        812.     In light of          the evidence presented at                 trial,

  as    reviewed above,          the Court reiterates                  its above finding that

  such evidence was sufficient to sustain the jury's finding that

  Defendant McGhee brandished a                    firearm.


            The    Court     further    declines          to    upset    such    finding      on    the

  basis of alleged jury confusion.                        Even if the verdict forms were



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  inconsistent,           it    is        not    necessary              that       a       jury's        verdict          be

  consistent.           United       States       v.       Harris,           701   F.2d          1095,    1103       (4th

  Cir.    1983)        (quoting Dunn v.                 United          States,            284    U.S.     390,       393

  (1932)).         A    jury may           acquit       a    defendant             of      one     offense while

  convicting him of another.                          Id.        Likewise,             the jury may absolve

  one defendant while holding another accountable.                                                Id.      "The most

  that    can     be    said    in    such       cases           is    that    the         verdict       shows       that


  either    in     the       acquittal          or     the        conviction,              the     jury        did    not

  speak their real              conclusions,               but        that does not show that                        they

  were    not     convinced          of    the    defendant's                 guilt."             Id.      A    jury's

  verdict       may be       "the     result          of    carelessness                or    compromise             or    a

  belief        that      the     responsible                individual                should           suffer        the

  penalty...."         Id.     (quoting United States v.                           Dotterweich,            320 U.S.

  277,    279     (1943)).       Furthermore,                the jury "may exercise lenity in

  order     'to    prevent       the punishment                       from    getting            too     far    out       of

  line with the crime.'"                        Id.    (quoting United States v. Scheper,

  520    F.2d     1355,      1358     (4th       Cir.       1975)).            Even when            a    verdict          is

  "in conflict with the evidence and applicable rules of vicarious

  guilt,"       it may be        "legally unassailable                         [as a] product of jury

  lenity."        Id.

          In this case, Defendant McGhee bases his contention of jury

  confusion on          the presence of what he                          terms         a     "hesitation mark"

  on the special verdict                    form.           As    a threshold matter,                     Defendant

  McGhee    never         objected         to     the       special           verdict            form     at    trial.



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  Additionally,          as     Defendant            McGhee          acknowledges,          the     Court

  inquired about the hesitation mark,                          discussed how to address the

  mark with counsel             at   a   sidebar,          and    then discussed the               jury's

  intended finding with                the jury foreperson at length and on the

  record in the presence of the entire jury.                                In light of the jury

  foreperson's clarification that the jury intended to only make a

  finding that Defendant McGhee brandished the firearm,                                      the Court

  allowed the foreperson to white out the additional small mark on

  the   special     verdict          form   as       a     scrivener's        error.        After       the

  special verdict form was read by the Clerk,                                the jury was polled

  at Defendants'         request,        and affirmed their unanimous verdicts as

  to each Defendant.             Therefore,              the Court FINDS           that   there is no

  evidence    in    the       record     that        the      jury was       confused       in    finding

  that Defendant McGhee brandished a                          firearm.


        The   Court          further     FINDS        that,      to    the    extent       the     jury's

  findings as to co-Defendants McGhee and Mitchell on the issue of

  brandishment          are      inconsistent,                 any     inconsistency             may    be

  attributable          to    jury     lenity.             Defendant        McGhee     testified         at

  trial,   while Defendant               Mitchell          did not.          The    jury heard and

  rejected Defendant McGhee's testimony.                              They may well have shown

  Defendant    Mitchell              leniency            because       he     did     not        testify.

  "Where[,]        as        here[,]      the        jury's          [allegedly]          inconsistent

  findings    are        explainable            as       an     exercise       of     lenity,          that

  explanation—rather than confusion or vindictiveness resulting in



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  heightened         punishment        on   the     other     count          or        of     the    other

  defendant-will           be   credited."          Harris,       701    F.2d           at    1103     n.14

  (quoting Dunn,           284 U.S.    at 393-94).

                                        III.   CONCLUSION


          For    the reasons         provided above,        the    Court      DENIES Defendant

  McGhee's Rule 29 motion for judgment of acquittal.

          The    Clerk     is   DIRECTED      to   send a     copy      of    this           Opinion    and

  Order    to    defense     counsel    for    each     defendant       and       to    the Assistant


  United States Attorney.

          IT    IS   SO   ORDERED.




                                                                                  /s/
                                                                        Mark       S.       Davis
                                                          UNITED     STATES DISTRICT JUDGE


  Norfolk, Virginia
  December 30 , 2012




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